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                                                                                                FILED
                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI                                   AUG - 9 2017
                                    EASTERN DIVISION                                       U.S. DISTRICT COURT
                                                                                         EASTERN DISTRICT OF MO
            UNITED STATES OF AMERICA,          )                                                 ST.LOUIS
                                              )
            Plaintiff,                        )
                                              )
            v.                                )            No.
                                              )
            PAUL EVERETT CREAGER,             )

            Defendant.                        )
                                               )                   4: 17CR356 RWS/JMB
                                                INDICTMENT

                                                   COUNT I

       The Grand Jury charges that:
                                                     )
Introduction

       1.      At all relevant times, the- Defendant Paul Everett Creager was a resident of Wildwood,

       Missouri which lies within the Eastern: District of Missouri.

       2.      At aU relevant times, the Defendant was engaged in residential real estate development in

       St. Louis County which lies within the Eastern District of Missouri. The Defendant did business

       through a number of entities.

       3.      The Defendant financed his business activities with, among other things, promissory notes,

       borrowing through at least one private lender and by selling interests in his entities to investors

       wishing to acquire equity.

       4.      Between January 2015 and August 2016, Defendant had successfully completed a number

       of residential real estate projects and was engaged in others that had not yet been compl~ted. By

      August 2016, Defendant had received millions of dollars from investors and lenders for his various

      business entities and was in need of additional capital.

       The Scheme
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5.       Between approximately June 1, 2016 and September 30, 2016, the Defendant solicited

$724,024.14 from two investors known to the Grand Jury whose initials are V.Y. and T.Z. V.Y.

invested $100,000 and T.Z. invested $624,024.14 in exchange for a percentage of ownership in

Defendant's businesses.

6.       During the aforementioned time period, Defendant provided V.Y. and T.Z. statements and

other representations about the nature and financial health of his business.          Specifically,

Defendant provided information used to prepare financial reports showing his businesses had

millions of dollars in net value after deducting debt from assets.       Additionally, Defendant

provided information that his personal net worth, separate from his business holdings, was more
          (

than one million dollars. V.Y. and T.Z. relied on these representations, in addition to their

knowledge of other aspects of Defendant's business including Defendant'_s ongoing projects and

his skill and reputation as a builder.

7.      By July 2016, unbeknownst to V.Y. and T.Z., Defendant had borrowed more than $3.2

million from Financial & Marketing Solutions, LLC ("FMS") which is a private lender.

Defendant gave FMS a priority secured position in his real estate developments as well as a number

of his personal assets including Defendant's personal home and his vacation home. Defendant

neither mentioned this debt nor identified the debt owed to FMS on any of the financial documents

and information presented to V.Y. and T.Z. Had this debt been disclosed, the net value of

Defendant's businesses would have been materially reduced by the amount of the debt.
                      '                                                           \
8.      By early 2017, despite the infusion of capital from V.Y.and T.Z., Defendant's business was

unable to meet its financial obligations and became delinquent to FMS.

9.      On or about July 10, 2017, FMS initiated foreclosure on all of Defendant's business

developments and on numerous personal assets of Defendant. The investments ofV.Y. and T.Z.

appear to have been wiped out in less than one year.

Offense Conduct
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10.        On or about August 24, 2016, having devised the foregoing scheme and artifice to d<;:fraud

and to obtain money and property by means of false and fraudulent pretenses, representations and

promises and for the purpose of executing the same,

                                    PAUL EVERETT CREAGER,

the Defendant herein did use and cause to be used in interstate commerce, wire communications,

to wit:    a: wire transfer of $30,000 from a financial account controlled by V.Y. in the State of New
York to a financial account controlled by Defendant in the State of Illinois.

             In violation of Title 18, United States Code Section 1343.

                                              COUNT II

11.        The allegations contained in Count I are hereby realleged and incorporated by reference.

12.        On or about September 15, 2016, having devised the foregoing scheme and artifice to

defraud and to obtain money and property by means of false and fraudulent pretenses,

representations and promises and for the purpose of executing the same,

                                   PAUL EVERETT CREAGER,

the Defendant herein did use and cause to be used in interstate commerce, wire communications,

to wit: a wire transfer of $291,144.81 from a financial account controlled by T.Z. in the State of

Missouri. to a financial account controlled by Defendant in the State of Illinois.

             In violation of Title 18, United States Code Section 1343.

                                   FORFEITURE ALLEGATION

The Grand Jury further finds ·by probable cause that:

1.        Pursuant to Title 18, United States Code, Sections 98l(a) and Title 28, United States Code,

Section 2461 (c), upon conviction of an offense in violation of Title 18, United States Code, Section

1343, as set forth in Counts One and Two, the defendant shall forfeit to the United States .of

America any property, real or personai, constituting or derived from any proceeds traceable to said

offense.
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2.       Subject to forfeiture is a sum of money equal to the total value of any property, real or

personal, constituting or derived from any proceeds traceable to said offense of at least

$724,024.14

3.      If any of the property described above, as a result of any act or omission of the defendant:

         a.     cannot be located upon the exercise of due diligence;

        b.      has been transferred or sold to, or deposited with, a third party;

         c.     has been placed beyond the jurisdiction of.the court;

        d.      has been substantially diminished in value; or

        e.      has been commingled with other property which cannot be divided without

        difficulty, the United States of America will be entitled to the forfeitirre of substitute

        property pursuant to Title 21, United States Code, Section 853(p).



                                                       A TRUE BILL



                                                       FOREPERSON
CARRIE COSTANTIN
Acting United States Attorney


Thomas C. Albus, #46224MO
Assistant United States Attorney
